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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES - CHANGE OF PLEA


Case No.: EDCR21-0048-JGB                                                         Date: October 31, 2022
Present: The Honorable Jesus G. Bernal                                            , G✔District Judge / G Magistrate Judge

Maynor Galvez                    Phyllis A. Preston            n/a                                  Mitchell Suliman
       Deputy Clerk                    Court Reporter                   Interpreter                   Assistant U.S. Attorney




            USA v. DEFENDANT(S) PRESENT                              ATTORNEYS PRESENT FOR DEFENDANTS
  FINN JOSHUA WIGEN                                            Charles Eaton, DFPD
             ✔ Custody G Bond G O/R
             G                                                                  ✔ Appointed G Retained
                                                                                G


                    G Custody G Bond G O/R                                       G Appointed G Retained


                    G Custody G Bond G O/R                                       G Appointed G Retained


                    G Custody G Bond G O/R                                       G Appointed G Retained


                    G Custody G Bond G O/R                                       G Appointed G Retained


PROCEEDINGS: CHANGE OF PLEA


✔ Defendant moves to change plea to the Indictment.
G
✔ Defendant now enters a new and different plea of Guilty to Count(s) One
G                                                                                                                      of the
      Indictment.

✔ The Court questions the defendant regarding plea of Guilty and finds it knowledgeable and voluntary and orders the plea
G
  accepted and entered
✔ The Court refers the defendant to the Probation Office for investigation and report and continues the matter to
G
  January 23, 2023, at 2:00 p.m.,                for sentencing.
✔
G The Court vacates the court and/or jury trial date.
G The pretrial conference set for                         is off calendar as to defendant                                 .
G Court orders:




G Other:



                                                                                                            :        20
                                                                      Initials of Deputy Clerk mg
cc:   USPO/USM-ED
CR-08 (09/09)                          CRIMINAL MINUTES - CHANGE OF PLEA
